                         IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWARE

                                                                         )
In re:                                                                   )    Chapter 11
                                                                         )
RTI HOLDING COMPANY, LLC,1                                               )    Case No. 20-12456 (JTD)
                                                                         )
                                   Debtors.                              )    (Jointly Administered)
                                                                         )
                                                                         )

                                                         Objection Deadline: October 30, 2020 at 4:00 p.m. (ET)
                                                         Hearing Date: November 12, 2020 at 2:00 p.m. (ET)

              DEBTORS’ APPLICATION PURSUANT TO SECTION 327(e)
         OF THE BANKRUPTCY CODE, RULE 2014 OF THE FEDERAL RULES OF
         BANKRUPTCY PROCEDURE, AND LOCAL RULE 2014-1 FOR AN ORDER
              AUTHORIZING THE RETENTION AND EMPLOYMENT OF
            BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ, PC,
                   AS SPECIAL COUNSEL TO THE DEBTORS AND
          DEBTORS IN POSSESSION NUNC PRO TUNC TO THE PETITION DATE


                 The above-captioned debtors and debtors in possession (the “Debtors”) hereby

file this application (the “Application”) for the entry of an order substantially in the form

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  The Debtors in these chapter 11 cases and the last four digits of each Debtor’s U.S. tax identification number are
as follows: RTI Holding Company, LLC (4966); Ruby Tuesday, Inc. (5239); Ruby Tuesday, LLC (1391); RTBD,
LLC (6505); RT of Carroll County, LLC (8836); RT Denver Franchise, L.P. (2621); RT Detroit Franchise, LLC
(8738); RT Distributing, LLC (6096); RT Finance, LLC (7242); RT FL Gift Cards, Inc. (2189); RT Florida Equity,
LLC (7159); RT Franchise Acquisition, LLC (1438); RT of Fruitland, Inc. (1103); RT Indianapolis Franchise, LLC
(6016); RT Jonesboro Club (2726); RT KCMO Franchise, LLC (7020); RT Kentucky Restaurant Holdings, LLC
(7435); RT Las Vegas Franchise, LLC (4969); RT Long Island Franchise, LLC (4072); RT of Maryland, LLC
(7395); RT Michiana Franchise, LLC (8739); RT Michigan Franchise, LLC (8760); RT Minneapolis Franchise,
LLC (2746); RT Minneapolis Holdings, LLC (7189); RT New England Franchise, LLC (4970); RT New Hampshire
Restaurant Holdings, LLC (7438); RT New York Franchise, LLC (1154); RT Omaha Franchise, LLC (7442); RT
Omaha Holdings, LLC (8647); RT One Percent Holdings, LLC (6689); RT One Percent Holdings II, LLC (2817);
RT Orlando Franchise, LP (5105); RT Restaurant Services, LLC (7283); RT South Florida Franchise, LP (3535);
RT Southwest Franchise, LLC (9715); RT St. Louis Franchise, LLC (6010); RT Tampa Franchise, LP (5290); RT
Western Missouri Franchise, LLC (6082); RT West Palm Beach Franchise, LP (0359); RTTA, LP (0035); RTT
Texas, Inc. (2461); RTTT, LLC (9194); Ruby Tuesday of Allegany County, Inc. (8011); Ruby Tuesday of Bryant,
Inc. (6703); Ruby Tuesday of Columbia, Inc. (4091); Ruby Tuesday of Frederick, Inc. (4249); Ruby Tuesday of
Linthicum, Inc. (8716); Ruby Tuesday of Marley Station, Inc. (1641); Ruby Tuesday of Pocomoke City, Inc. (0472);
Ruby Tuesday of Russellville, Inc. (1601); and Ruby Tuesday of Salisbury, Inc. (5432). The Debtors’ mailing
address is 333 East Broadway Ave., Maryville, TN 37804.
annexed hereto as Exhibit A (the “Proposed Order”), pursuant to section 327(e) of Title 11 of

the United States Code (the “Bankruptcy Code”), Rule 2014(a) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 2014-1 of the Local Rules of

Bankruptcy Practice and Procedure for the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), authorizing the Debtors to retain and employ Baker Donelson

Bearman Caldwell & Berkowitz, PC (“Baker Donelson” or the “Firm”), as special counsel to the

Debtors to serve as real estate lease, labor, employment and ERISA counsel, including in

litigation in these areas, nunc pro tunc to the commencement of these cases. In support of the

Application, the Debtors rely upon and incorporate by reference the Rule 2016 statement

attached hereto as Exhibit B, the declaration of Steven F. Griffith, Jr. (the “Griffith

Declaration”) attached hereto as Exhibit C, and the declaration of Shawn Lederman (the

“Lederman Declaration”) attached hereto as Exhibit D. In further support of the Application,

the Debtors respectfully state as follows:

                                      Jurisdiction And Venue

                   1.   The United States Bankruptcy Court for the District of Delaware (the

“Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the

Amended Standing Order of Reference from the United States District Court for the District of

Delaware, dated February 29, 2012. This matter is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2), and the Debtors confirm their consent pursuant to Local Rule 9013-1(f) to the entry

of a final order by the Court in connection with this Application to the extent that it is later




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determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

                   2.   Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and

1409.

                   3.   The statutory bases for the relief sought herein are sections 327(e) of the

Bankruptcy Code, Bankruptcy Rule 2014(a), and Local Rule 2014-1.

                                            Background

                   4.   On October 7, 2020 (the “Petition Date”), RTI Holding Company, LLC

and certain of its affiliates commenced these cases by filing voluntary petitions for relief under

chapter 11 of the Bankruptcy Code. The Debtors have continued in the possession of their

property and have continued to operate and manage their business as debtors in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee, examiner or

committee has been appointed in the Debtors’ chapter 11 cases.

                   5.   The Debtors develop, operate, and franchise casual dining restaurants in

the United States, Guam, and five foreign countries under the Ruby Tuesday® brand. The

company-owned and operated restaurants (i.e., non-franchise) are concentrated primarily in the

Southeast, Northeast, Mid-Atlantic and Midwest regions of the United States.

                   6.   The factual background regarding the Debtors, including their current and

historical business operations and the events precipitating the chapter 11 filings, is set forth in

detail in the Declaration of Shawn Lederman, Chief Executive Officer of Ruby Tuesday, Inc., in




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Support of First Day Pleadings (the “First Day Declaration”) [Docket No. 3] and is fully

incorporated herein by reference.2

                                               Relief Requested

                   7.     By this Application, the Debtors seek the entry of an order authorizing the

employment of Baker Donelson as special counsel to serve as real estate lease, ERISA, labor and

employment counsel to the Debtors, including litigation regarding these areas. The Debtors

request that Baker Donelson be retained to perform the services described in this Application.

                                                Basis For Relief

                   8.     Section 327(e) of the Bankruptcy Code authorizes a debtor, with court

approval, to retain

                          for a specified special purpose, other than to represent the
                          trustee in conducting the case, an attorney that has
                          represented the debtor, if in the best interest of the estate,
                          and if such attorney does not represent or hold any interest
                          adverse to the debtor or to the estate with respect to the
                          matter on which such attorney is to be employed.


11 U.S.C. § 327(e). Clarifying the statute, Bankruptcy Rule 1107(b) provides that “a person is

not disqualified for employment under section 327 of this title by a debtor in possession solely

because of such person’s employment by or representation of the debtor before the

commencement of the case.”

                   9.     Accordingly, retention of general non-bankruptcy counsel is permissible

so long as: (a) the appointment is in the best interest of the debtor’s estate, (b) counsel does not


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  Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the First Day
Declaration.


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hold an interest adverse to the estate with respect to the subject matter of its retention, and (c) the

engagement does not amount to conducting the bankruptcy case for the debtor in possession. See

In re DeVlieg, Inc., 174 B.R. 497 (N.D. Ill. 1994); In re Carla Leather, Inc., 44 B.R. 457, 474

(Bankr. S.D.N.Y. 1984), aff’d, 50 B.R. 764 (S.D.N.Y. 1985) (“[section] 327(e) bars engagement

of special counsel only in the presence of an actual conflict of interest concerning the subject

matter of the engagement”).

                   10.   Baker Donelson’s retention as the Debtors’ general non-bankruptcy

counsel falls within the scope of section 327(e) of the Bankruptcy Code. See, e.g., In re

Bertucci’s Holdings, Inc., Case No. 18-10894 (MFW) (Bankr. D. Del. May 31, 2018)

(authorizing retention of general non-bankruptcy counsel under section 327(e) of the Bankruptcy

Code); In re Dex Liquidating Co., Case No. 17-12913 (KJC) (Bankr. D. Del. January 19, 2018)

(same).

                           Services To Be Provided By Baker Donelson

                   11.   Baker Donelson has been providing legal services to the Debtors since

August 12, 2015. Baker Donelson primarily advises the Debtors with respect to real estate lease

matters but also advises the Debtors with respect to ERISA, labor and employment issues,

including litigation regarding all of these areas. Baker Donelson may also provide such other

services as the Debtors may request.

                   12.   The Debtors have filed an application contemporaneously herewith

seeking to employ Pachulski Stang Ziehl & Jones LLP (“PSZJ”) as general bankruptcy counsel

in connection with the commencement and prosecution of these chapter 11 cases. It is the



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intention of the Debtors that the services to be performed by Baker Donelson, and those services

to be performed by PSZJ, and any other parties retained by the Debtors, will not be duplicative,

but rather will ensure the most economic and effective means for the Debtors to be represented in

these cases while continuing to operate their business. However, Baker Donelson may be

required, from time to time, to consult and/or advise PSZJ with regard to the matters on which

Baker Donelson is representing the Debtors, which may include without limitation, matters that

impact the Debtors’ efforts to consummate a chapter 11 plan of reorganization.

                   13.   Baker Donelson has stated its desire and willingness to continue to act as

special real estate lease, ERISA, labor and employment counsel to the Debtors, and to render the

necessary professional services required in connection therewith, including continued handling

of litigation regarding these issues. Moreover, the retention and employment of Baker Donelson

as special real estate lease, ERISA, labor and employment counsel would prevent the Debtors’

estates from incurring the unnecessary cost of employing a new firm to essentially repeat work

previously done by Baker Donelson. Accordingly, the employment and retention of Baker

Donelson as special real estate lease, ERISA, labor and employment counsel is in the best

interest of the Debtors and their estates and therefore should be approved.

                                            Compensation

                   14.   Baker Donelson intends to apply to the Court for allowance of

compensation and reimbursement of expenses in accordance with the applicable provisions of

the Bankruptcy Code, the Bankruptcy Rules, the Local Rules and the guidelines promulgated by

the United States Trustee, and pursuant to any additional procedures that may be established by



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the Court in these cases. Baker Donelson’s allowed fees will be paid by the Debtors. Baker

Donelson’s fees for professional services are based upon its hourly rates, which are periodically

adjusted. The names and hourly rates for the Firm’s professionals who will primarily be

responsible for this matter are:



                   Name of Professional        Title                       Hourly Rate
                   D. Keith Andress            Partner                     $556
                   Steven F. Griffith, Jr.     Partner                     $555
                   Andrea Bailey Powers        Partner                     $539
                   Ross N. Cohen               Of Counsel                  $506
                   Eve A. Cann                 Partner                     $460
                   Jackson Cates               Associate                   $308


                   15.     Baker Donelson will maintain records in support of any actual and

necessary costs and expenses incurred in connection with the rendering of its services in these

cases. Subject to application for and allowance by the Court, Baker Donelson will receive

reimbursement for reasonable and documented out-of-pocket expenses incurred in connection

with the services rendered to the Debtors.

                   16.     Baker Donelson intends to apply to the Court for payment of

compensation and reimbursement of expenses in accordance with the applicable provisions of

the Bankruptcy Code, the Bankruptcy Rules, the Local Rules, and any other orders entered in

these chapter 11 cases for all services performed and expenses incurred after the Petition Date.




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                   17.   The Debtors believe that the compensation arrangements with Baker

Donelson are reasonable and at market rates, and similar to the rates charged to other clients in

similar circumstances.

                         Disinterestedness And Disclosure Of Connections

                   18.   To the best of the Debtors’ knowledge, information, and belief, other than

as set forth in the Griffith Declaration, Baker Donelson: (a) has no connection with the Debtors,

their creditors, other parties in interest, or the attorneys or accountants of any of the foregoing, or

the United States Trustee or any person employed in the Office of the United States Trustee for

the District of Delaware; (b) does not hold any interest adverse to the Debtors’ estates; and (c)

believes it is a “disinterested person” as defined by section 101 (14) of the Bankruptcy Code.

Accordingly, the Debtors believes that Baker Donelson is “disinterested” as such term is defined

in section 101(14) of the Bankruptcy Code.

                   19.   Baker Donelson will review its files periodically during the pendency of

these chapter 11 cases to ensure that no conflicts or other disqualifying circumstances exist or

arise. If any new relevant facts or relationships are discovered or arise in such review, Baker

Donelson will use reasonable efforts to identify such further developments and will promptly file

a supplemental affidavit, as required by Bankruptcy Rule 2014(a).

                                                Notice

                   20.   Notice of this Motion shall be provided to the following parties, or their

counsel, if known: (a) the Office of the United States Trustee; (b) the Debtors’ fifty (50) largest

unsecured creditors on a consolidated basis; (c) counsel to Goldman Sachs Specialty Lending



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Group, LP (as administrative and collateral agent); (d) any official committee of unsecured

creditors appointed in this matter; and (e) any party that has requested notice pursuant to

Bankruptcy Rule 2002 (collectively, the “Notice Parties”). The Debtors submit that, in light of

the nature of the relief requested, no other or further notice need be given.

                                          No Prior Request

                   21.   No prior request for the relief sought in the Application has been made to

this Court or any other court.

                   WHEREFORE, the Debtors respectfully request that the Court enter an order,

substantially in the form attached hereto, granting the relief requested herein and granting such

other and further relief as is just and proper.




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Dated: October 15, 2020

                                  Ruby Tuesday, Inc., et al.

                                 By:____________________________
                                  Shawn Lederman
                                  Its Chief Executive Officer




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